        Case 1:19-cv-00940-ADA Document 113 Filed 11/15/21 Page 1 of 1




                        UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

 JULIA TEAGUE,                                 §
                                               §
        Plaintiff,                             §
                                               §
 v.                                            §
                                               §      No. 1:19-CV-00940-JRN
 OMNI HOTELS MANAGEMENT                        §
 CORPORATION and                               §
 TRT HOLDINGS INC.,                            §
                                               §
        Defendants.                            §

                              Amended Final Judgment

       Pursuant to Federal Rule of Civil Procedure 59, and on the parties’ Agreed Motion

for Amended Judgment of Dismissal based on settlement, this Court renders an amended

final judgment as follows in accordance with Rule 58:

       1.     This Court grants the Agreed Motion for Amended Judgment of Dismissal.

       2.     This Court vacates the Final Judgment entered August 25, 2021 (Doc. 110).

       3.     This Court dismisses with prejudice all claims in this lawsuit, with each party

to bear that party’s own costs and attorneys’ fees.

       4.     This judgment is now this Court’s final judgment in this cause.

       Signed this 15th day of September 2021.



                                          __________________________________
                                          Alan D Albright
                                          United States District Judge
